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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:08CR175
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
DAVID KENDALL,                                )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 167). The government initially objected to the

PSR consistent with the plea agreement (PSR, Addendum), and the government later

adopted the PSR (Filing No. 166). The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 543

U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to the quantity of controlled substance attributable to the

Defendant in ¶¶ 34 and 40 and to the application of base offense level 34. The plea

agreement reached pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B)

recommends a base offense level of 32. The Court’s tentative findings are that, absent

unusual circumstances, the plea agreement should be upheld and the base offense level

should be calculated as level 32.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the Defendant‘s objections (Filing No.

167) to the PSR are granted;

       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;
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       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       Dated this 6th day of April, 2009.


                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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